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                        IN THE UNITED STATES DISTRICT COURT


                       FOR THE EASTERN DISTRICT OF VIRGINIA


                                    RICHMOND DIVISION




UNITED STATES OF AMERICA


v.                                                         CASE NO. 3:13CR172-005(REP)

TIFFANY NICOLE CLAIR
                Defendant.



                                              ORDER


         This matteris before the court for consideration of a report and recommendation by the

Magistrate Judge regarding the Magistrate Judge's acceptance of the Defendant's pleaof guilty

to specified charges in the pending matter pursuant to a Fed. R. Crim. P. 11 proceeding

conducted bythe Magistrate Judge with the consent of the Defendant and counsel. It appearing

that the Magistrate Judge made full inquiry and findings pursuant to Rule 11; that the Defendant

was given notice of the right to file specific objections to the report and recommendation that has

been submitted as a result of the proceeding; and it further appearing thatno objection has been

asserted within the prescribed time period, it is hereby

         ORDERED that the report and recommendation of the Magistrate Judge is ADOPTED

and the Defendant is found guilty of Count Is of the Second Superseding Indictment.



                                                               /s/       ML
                                                      Robert E. Payne
                                                      Senior United States District Judge

Dated:          fa ,2014
